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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA
vs CR NO. 1:04-100?1-01-"1`

BILLY GAlL BIRMINGHAM

ORDER ON CHANGE OF PLEA
ThiS cause came on to be heard On July 6, 2005, Assistant U. S. Attorney,
Jerry Kitehen, appearing for the government, and the defendant appeared in person
and with counsel, J0e H. Byrd, Who Was retained.
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea Of GUILTY as charged in Count 1 of the Indictment.

This case has been set for Sentencing on Tuesdav . October 4. 2005. at 8:45

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED.

 

 

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Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jackson, TN 3830]--276

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

